                        THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH
                           CAROLINA WESTERN DIVISION
                             FILE NO. 5:21-CV-00225-BO



     JUDITH KNECHTGES,                      )
                                            )
                            Plaintiff,      )
     v.                                                  DECLARATION
                                            )
                                            )                OF
     NC DEPARTMENT OF PUBLIC                )              COUNSEL
     SAFETY, et al.,                        )
                                            )
                            Defendants.     )



          I, Bryan Nichols, being competent to testify, and having personal knowledge of

the matters herein, hereby state:

1.        I am an adult over the age of 18, have never been adjudged incompetent, suffer

from no mental or emotional illness, and make this declaration of my own free will,

stating facts of which I have personal knowledge as counsel for the North Carolina

Department of Adult Corrections (“DAC”), (which was formerly a part of the North

Carolina Department of Public Safety (“DPS”)) and Defendants Hooks, Catlett and

Thomas.

2.        Attached hereto are documents produced pursuant to Local Civil Rule 7.1(i) as

that, upon information and belief, the documents speak for themselves, it is anticipated

that the existence of these documents will be uncontested, the facts contained therein

solely relate to matters of formality, and there will be no substantial evidence offered

in opposition.



            Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 1 of 8
3.    These documents are either copies of filed pleadings with the North Carolina

Office of Administrative Hearings (“NC OAH”) in Litigation Matters plaintiff Judith

Knechtges was a party to and has been served or copies of documents on file with DPS

or DAC made and kept as part of the regular court of business.

                a. Exhibit 7 is a true and accurate copy of the Affidavit of Reuben

                   Young filed on July 19, 2019 with the NC OAH in the case Judith

                   Knechteges v. North Carolina Department of Public Safety, file

                   number 19 OSP 1028. This filing was previously served on

                   Plaintiff and she should already have a copy.

                b. Exhibit 7.1 is a true and accurate copy of the Affidavit of Luann

                   Roberts filed on September 6, 2019 with the NC OAH in the case

                   Judith Knechteges v. North Carolina Department of Public Safety,

                   file number 19 OSP 1028. This filing was previously served on

                   Plaintiff as well as referenced exhibits and she should already

                   have copies. In the affidavit, Exhibit 2 is identified as the CEO

                   Posting, Exhibit 3 is identified as Plaintiff’s Application, the

                   Exhibit 4 is identified as the Interview Summary, Exhibit 5 is

                   identified as the Letter from Dr. Wilson to Kenneth Lassiter

                   stating the reasons for their selection, which are all true and

                   accurate records of DPS kept in the ordinary course of business.

                c. Exhibit 7.2 is a true and accurate copy of the Affidavit of Anita

                   Wilson filed on September 4, 2019 with the NC OAH in the case

                   Judith Knechteges v. North Carolina Department of Public Safety,



        Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 2 of 8
         file number 19 OSP 1028. This filing was previously served on

         Plaintiff as well as referenced exhibits and she should already

         have copies. In the affidavit, Exhibit 5 is identified as the Letter

         from Dr. Wilson to Kenneth Lassiter stating the reasons for their

         selection, which are all true and accurate records of DPS kept in

         the ordinary course of business.

      d. Exhibit 8 is a true and accurate copy of the Affidavit of Erica

         Zendt filed with the NC OAH in the case Judith Knechteges v.

         North Carolina Department of Public Safety, file number 19 OSP

         1028. This filing was previously served on Plaintiff as well and she

         should already have copies.

      e. Exhibit 9 is a true and accurate copy of the Letter sent to

         Plaintiff on December 12, 2018 relieving her of her temporary

         assignment as Interim CEO which was filed as an Exhibit with

         the NC OAH entitled in the case Judith Knechteges v. North

         Carolina Department of Public Safety, file number 19 OSP 1028.

      f. Exhibit 10 is a true and accurate copy of the pleading filed on

         February 22, 2019 with the NC OAH entitled Petition for a

         Contested Case Hearing in the case Judith Knechteges v. North

         Carolina Department of Public Safety, file number 19 OSP 1028.

         This filing was previously served on Plaintiff and she should

         already have a copy.




Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 3 of 8
      g. Exhibit 11 is a true and accurate copy of the pleading filed on

         July 29, 2019 with the NC OAH entitled Motion for Summary

         Judgment in the case Judith Knechteges v. North Carolina

         Department of Public Safety, file number 19 OSP 1028. This filing

         was previously served on Plaintiff and she should already have a

         copy.



      h. Exhibit 12 is a true and accurate copy of the Order entered on

         September 11, 2019 by NC OAH Administrative Law Judge

         entitled Order on Petitioner’s Motion to Strike and Respondent’s

         Motion for Summary Judgment in the case Judith Knechteges v.

         North Carolina Department of Public Safety, file number 19 OSP

         1028. This filing was previously served on Plaintiff and she should

         already have a copy.



      i. Exhibit 13 is a true and accurate copy of the pleading filed on

         September 25, 2019 with the NC OAH entitled Motion for Relief

         from Judgment in the case Judith Knechteges v. North Carolina

         Department of Public Safety, file number 19 OSP 1028. This filing

         was previously served on Plaintiff and she should already have a

         copy.

      j. Exhibit 14 is a true and accurate copy of the pleading filed on

         October 1, 2019 with the NC OAH entitled Voluntary Dismissal



Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 4 of 8
         Without Prejudice in the case Judith Knechteges v. North Carolina

         Department of Public Safety, file number 19 OSP 1028. This filing

         was previously served on Plaintiff and she should already have a

         copy.



      k. Exhibit 13 is a true and accurate copy of the pleading filed on

         September 25, 2019 with the NC OAH entitled Motion for Relief

         from Judgment in the case Judith Knechteges v. North Carolina

         Department of Public Safety, file number 19 OSP 1028. This filing

         was previously served on Plaintiff and she should already have a

         copy.



      l. Exhibit 14 is a true and accurate copy of the pleading filed on

         September 25, 2019 with the NC OAH entitled Voluntary

         Dismissal Without Prejudice in the case Judith Knechteges v.

         North Carolina Department of Public Safety, file number 19 OSP

         1028. This filing was previously served on Plaintiff and she should

         already have a copy.


      m. Exhibit 15 is a true and accurate copy of the pleading filed on

         May 22, 2020 with the NC OAH entitled Petition for a Contested

         Case Hearing in the case Judith Knechteges v. North Carolina

         Department of Public Safety, file number 20 OSP 2124. This filing

         was previously served on Plaintiff and she should already have a

Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 5 of 8
         copy.



      n. Exhibit 16 is a true and accurate copy of the pleading filed on

         August 19, 2020 with the NC OAH entitled Motion to Dismiss in

         the case Judith Knechteges v. North Carolina Department of

         Public Safety, file number 20 OSP 2124. This filing was previously

         served on Plaintiff and she should already have a copy.



      o. Exhibit 17 is a true and accurate copy of the Final Decision

         entered on February 25, 2021 by the Administrative Law Judge

         in the case Judith Knechteges v. North Carolina Department of

         Public Safety, file number 20 OSP 2124. This filing was previously

         served on Plaintiff and she should already have a copy.



      p. Exhibit 18 is a true and accurate copy of the pleading filed on

         March 23, 2021 with the NC OAH entitled Rule 59 and 60 Motion

         Motions in the case Judith Knechteges v. North Carolina

         Department of Public Safety, file number 20 OSP 2124. This filing

         was previously served on Plaintiff and she should already have a

         copy.

      q. Exhibit 19 is a true and accurate copy of the Order Denying

         Petitioner’s Rule 59 and Rule 60 Motions entered on April 20,

         2021 by the Administrative Law Judge in the case Judith



Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 6 of 8
                   Knechteges v. North Carolina Department of Public Safety, file

                   number 20 OSP 2124. This filing was previously served on

                   Plaintiff and she should already have a copy.

                r. Exhibit 20 is a true and accurate copy of the pleading filed on

                   April 28, 2021 with the NC OAH entitled Notice of Appeal in the

                   case Judith Knechteges v. North Carolina Department of Public

                   Safety, file number 20 OSP 2124. This filing was previously served

                   on Plaintiff and she should already have a copy.



                s. Exhibit 20 is a true and accurate copy of the Unpublished

                   Opinion entered on February 7, 2023 by the North Carolina Court

                   of Appeals in the case Judith Knechteges v. North Carolina

                   Department of Public Safety, file number COA22-213 (OAH file

                   number 20 OSP 2124) This filing was previously served on

                   Plaintiff and she should already have a copy.



      These contain only documents that were either written by Plaintiff, bear

Plaintiff’s signature, or were otherwise reviewed by Plaintiff. Thus, Plaintiff is aware

of these documents and it is not anticipated that there will be substantial evidence

offered in opposition as to the authenticity of the documents.

      Pursuant to 28 U.S.C. § 1746(2), I verify under penalty of perjury that the

foregoing Declaration is true and correct in substance and in fact to the best of my

knowledge and belief.



         Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 7 of 8
Respectfully submitted this the 10th day of May, 2023.



                                       /s/ Bryan G. Nichols
                                       Bryan G. Nichols
                                       Special Deputy Attorney General




  Case 5:21-cv-00225-BO Document 56-1 Filed 05/17/23 Page 8 of 8
